
In re Freeman, Farnell; — Defendant(s); applying for supervisory and/or remedial writs; to the Court of Appeal, Fourth Circuit, No. 94KA-1534; Parish of Orleans, Criminal District Court, Div. “F”, No. 366-021.
Writ granted in part; otherwise denied; case remanded to the district court. The district court is ordered to grant relator an out-of-time appeal and appoint counsel to pursue it. If counsel finds no basis for assigning error on appeal, he may withdraw, but only after fulfilling the requirements for review and analysis of the record as set out in State v. Jyles, 96-2669 (La.12/12/97), 704 So.2d 241. In all other respects the application is denied.
TRAYLOR, J., would deny the writ.
MARCUS, J., not on panel.
